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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
   ALI COLAK, on behalf of himself and all others :
   similarly situated,                                                    :
                                                                          :   Case No.: 24-17
                                  Plaintiffs,                             :
                                                                          : CLASS ACTION COMPLAINT
                                  v.                                      : AND DEMAND FOR JURY TRIAL
                                                                          :
   FIVE TOWNS WINES & LIQUORS, INC.,                                      :
                                                                          :
                                 Defendant.                               :
                                                                          :
                                                                          :
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                                               INTRODUCTION
              1.       Plaintiff ALI COLAK (“Plaintiff”) on behalf of himself and others similarly

   situated, asserts the following claims against Defendant FIVE TOWNS WINES &

   LIQUORS, INC., (“Defendant”) as follows.

              2.       Plaintiff is a visually-impaired and legally blind person who requires

   screen-reading software to read website content using the computer. Plaintiff uses the terms

   “blind” or “visually-impaired” as Plaintiff’s central visual acuity with correction is less

   than or equal to 20/200.

              3.       Based on a 2020 U.S. Census Bureau report, approximately 8.1 million

   people in the United States are visually impaired 1, including 2.0 million who are blind.

   According a 2016 report published by the National Federation of the Blind, 2016 report,

   approximately 418,500 visually impaired persons live in the State of New York. 2




   1
       See United States Census Bureau Report.
   2
       See 2016 Report – National Federation for the Blind.


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          4.      Plaintiff brings this civil rights action against Defendant for the failure to

   design, construct, maintain, and operate Defendant’s website, www.fivetownswines.com

   (the “Website”), to be fully accessible to and independently usable by Plaintiff and other

   blind or visually-impaired people. Defendant’s denial of full and equal access to the

   Website, and therefore denial of the goods and services offered thereby, is a violation of

   Plaintiff’s rights under the Americans with Disabilities Act (“ADA”).

          5.      Congress provides a clear and national mandate for the elimination of

   discrimination against individuals with disabilities. Such discrimination includes barriers

   to full integration, independent living, and equal opportunity for persons with disabilities,

   including those barriers created by websites and other public accommodations that are

   inaccessible to blind and visually impaired persons. Similarly, New York City law requires

   places of public accommodation to ensure access to goods, services, and facilities by

   making reasonable accommodations for persons with disabilities.

          6.      Defendant’s website is not equally accessible to blind and visually impaired

   consumers; therefore, Defendant is in violation of the ADA. Plaintiff now seeks a

   permanent injunction to cause a change in Defendant’s corporate policies, practices, and

   procedures so that Defendant’s Website will become and remain accessible to blind and

   visually-impaired consumers.

                                JURISDICTION AND VENUE
          7.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

   § 1331 and 42 U.S.C. § 12182, as Plaintiff’s claims arise under Title III of the ADA, 42

   U.S.C. § 12182, et seq.




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             8.       This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

   Plaintiff’s New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

   (“NYCHRL”) claims.

             9.       Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

   Defendant conducts and continues to conduct a substantial and significant amount of

   business in this District, and a substantial portion of the conduct complained of herein

   occurred in this District because Plaintiff attempted to utilize, on a number of occasions,

   the subject Website within this Judicial District.

             10.      Defendant is subject to personal jurisdiction in this District. Defendant has

   been and is committing the acts or omissions alleged herein in the Eastern District of New

   York that caused injury and violated rights the ADA prescribes to Plaintiff and to other

   blind and other visually impaired-consumers. A substantial part of the acts and omissions

   giving rise to Plaintiff’s claims occurred in this District: on several separate occasions,

   Plaintiff has been denied the full use and enjoyment of the facilities, goods and services

   offered to the general public, on Defendant’s Website in Nassau County. These access

   barriers that Plaintiff encountered have caused a denial of Plaintiff’s full and equal access

   multiple times in the past, and now deter Plaintiff on a regular basis from accessing the

   Defendant’s Website in the future.

             11.      The United States Department of Justice Civil Rights Division has recently

   issued that “the Department has consistently taken the position that the ADA’s

   requirements apply to all the goods, services, privileges, or activities offered by public

   accommodations, including those offered on the web.” 3



   3
       See Guidance on Web Accessibility and the ADA.


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          12.      This Court is empowered to issue a declaratory judgment under 28 U.S.C.

   §§ 2201 and 2202.

                                          THE PARTIES
          13.      Plaintiff ALI COLAK, at all relevant times, is and was a resident of Nassau

   County, New York.

          14.      Plaintiff is a blind, visually-impaired handicapped person and a member of

   a protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and the

   regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., and NYCHRL.

          15.      Upon information and belief, Defendant is, and at all relevant times was,

   doing business in this jurisdiction.

          16.      Defendant’s Website, and the goods and services offered thereupon, is a

   public accommodation within the definition of Title III of the ADA, 42 U.S.C. §

   12181(7)(j).

                                           STANDING

          17.      Plaintiff ALI COLAK is a blind, visually-impaired handicapped person and

   a member of a protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-

   (2), and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., and

   NYCHRL.

          18.      Consumers such as the Plaintiff may purchase Defendant’s products and

   access other brand related content and services at the Website Defendant owns, operates,

   and controls.

          19.      In addition to researching and purchasing Defendant’s products and

   services, consumers may also use Defendant’s Website to sign up to receive product

   updates, product news, and receive special promotions not available elsewhere.


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          20.     Plaintiff was injured when Plaintiff attempted on December 22, 2023 and

   again on December 27, 2023 to access Defendant’s Website from Plaintiff’s home in an

   effort to shop for Defendant’s products, but encountered barriers that denied the full and

   equal access to Defendant’s online goods, content, and services.

          21.     Specifically, Plaintiff wanted to purchase the Almaden Pinot Grigio wine.

          22.     Plaintiff wished to purchase this product because he was looking for a white

   wine for the holiday celebrations. He wanted to find boxed wine because it is convenient

   to store and is appropriate for large family gatherings.

          23.     Plaintiff came across Defendant’s Website via “Google” search. This

   Website holds themselves out as the online platform of Five Towns Wines & Liquors. They

   offer a wide range of alcoholic beverages, including various types of wines and spirits.

   Their selection covers a diverse array of products, from red and white wines to different

   spirits like whiskey, vodka, gin, brandy, rum, and more. Moreover, they provide services

   like local free delivery, in-store pickup, and reliable shipping within New York, therefore

   Plaintiff desired to buy products from the Website.

          24.     Unfortunately, Plaintiff was unable to complete the purchase due the

   inaccessibility of Defendant’s Website.

          25.      Due to Defendant’s failure to build the Website in a manner that is

   compatible with screen access programs, Plaintiff was unable to understand and properly

   interact with the Website, and was thus denied the benefit of purchasing the Almaden Pinot

   Grigio wine that Plaintiff wished to acquire from the Website.

          26.     The law requires that the Defendant reasonably accommodate Plaintiff’s

   disabilities by removing these existing access barriers.




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          27.       Plaintiff has been, and in absence of an injunction, will continue to be

   injured by Defendant’s failure to provide the online content and services in a manner that

   is compatible with screen-reader technology.

          28.       Defendant’s denial of full and equal access to and enjoyment of the goods,

   benefits, and services of the Website, has caused Plaintiff to suffer an injury in fact due to

   Plaintiff’s inability to purchase the Almaden Pinot Grigio wine, which is a concrete and

   particularized injury, and is a direct result of Defendant’s conduct.

          29.       Despite this direct harm and frustration, Plaintiff intends to attempt to

   access the Website in the future to purchase products and services the Website offers, and

   more specifically the Almaden Pinot Grigio wine, if remedied.

                                      NATURE OF ACTION
          30.       The Internet has become a significant source of information, a portal, and a

   tool for conducting business, doing everyday activities such as shopping, learning, banking,

   researching, as well as many other activities for sighted, blind, and visually-impaired

   persons alike.

          31.       In today’s tech-savvy world, blind and visually impaired people have the

   ability to access websites using keyboards in conjunction with screen access software that

   vocalizes the visual information found on a computer screen or displays the content on a

   refreshable Braille display. This technology is known as screen-reading software. Screen-

   reading software is currently the only method a blind or visually-impaired person may use

   to independently access the internet. Unless websites are designed to be read by screen-

   reading software, blind and visually-impaired persons are unable to fully access websites,

   and the information, products, and goods contained thereon.




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          32.     Blind and visually-impaired users of Windows operating system-enabled

   computers and devices have several screen-reading software programs available to them.

   Some of these programs are available for purchase and other programs are available

   without the user having to purchase the program separately. Job Access With Speech,

   otherwise known as “JAWS” is currently the most popular, separately purchased and

   downloaded screen-reading software program available for a Windows computer. Another

   popular screen-reading software program available for a Windows computer is NonVisual

   Desktop Access “NVDA”.

          33.     For screen-reading software to function, the information on a website must

   be capable of being rendered into text. If the website content is not capable of being

   rendered into text, the blind or visually-impaired user is unable to access the same content

   available to sighted users.

          34.     The international website standards organization, the World Wide Web

   Consortium, known throughout the world as W3C, has published version 2.1 of the Web

   Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established

   guidelines for making websites accessible to blind and visually-impaired people. These

   guidelines are universally followed by most large business entities and government

   agencies to ensure websites are accessible.

          35.     Non-compliant websites pose common access barriers to blind and visually-

   impaired persons. Common barriers encountered by blind and visually impaired persons

   include, but are not limited to, the following:

                  a.      A text equivalent for every non-text element is not provided;

                  b.      Title frames with text are not provided for identification and




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               navigation;

               c.      Equivalent text is not provided when using scripts;

               d.      Forms with the same information and functionality as for sighted

               persons are not provided;

               e.      Information about the meaning and structure of content is not

               conveyed by more than the visual presentation of content;

               f.      Text cannot be resized without assistive technology up to 200%

               without losing content or functionality;

               g.      If the content enforces a time limit, the user is not able to extend,

               adjust or disable it;

               h.      Web pages do not have titles that describe the topic or purpose;

               i.      The purpose of each link cannot be determined from the link text

               alone or from the link text and the programmatically determined link

               context;

               j.      One or more keyboard operable user interface lacks a mode of

               operation where the keyboard focus indicator is discernible;

               k.      The default human language of each web page cannot be

               programmatically determined;

               l.      When a component receives focus, it may initiate a change in

               context;

               m.      Changing the setting of a user interface component may

               automatically cause a change of context where the user has not been advised

               before using the component;




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                  n.      Labels or instructions are not provided when content requires user

                  input, which include captcha prompts that require the user to verify that he

                  or she is not a robot;

                  o.      In content which is implemented by using markup languages,

                  elements do not have complete start and end tags, elements are not nested

                  according to the specifications, elements may contain duplicate attributes,

                  and/or any IDs are not unique;

                  p.      Inaccessible Portable Document Format (PDF); and,

                  q.      The name and role of all User Interface elements cannot be

                  programmatically determined; items that can be set by the user cannot be

                  programmatically set; and/or notification of changes to these items is not

                  available to user agents, including assistive technology.

          36.     Websites have features and content that are modified on a daily, and in some

   instances hourly basis and a one time “fix” to an inaccessible digital platform will not cause

   the digital platform to remain accessible without a corresponding in change in corporate

   policies related to those web-based technologies. To evaluate whether an inaccessible

   website has been rendered accessible, and whether corporate policies related to website

   technologies have been changed in a meaningful manner that will cause the website to

   remain accessible, the website must be reviewed on a periodic basis using both automated

   accessibility screening tools and end user testing by disabled individuals.

                                   STATEMENT OF FACTS
          37.     Defendant is a company that owns and operates the Website, offering

   features which should allow all consumers to access the goods and services and by which




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    Defendant ensures the delivery of such goods throughout the United States, including New

    York State.

           38.     Defendant’s Website offers products and services for online sale and

    general delivery to the public. The Website offers features which ought to allow users to

    browse for items, access navigation bar descriptions, inquire about pricing, and avail

    consumers of the ability to peruse the numerous items offered for sale.

           39.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

    computer without the assistance of screen-reading software. Plaintiff is, however, a

    proficient NVDA screen-reader user and uses it to access the Internet. Plaintiff has visited

    the Website on December 22, 2023 and again on December 27, 2023 using a screen-reader.

           40.     Specifically, Plaintiff intended to purchase the Almaden Pinot Grigio wine.

           41.     Plaintiff came across Defendant’s Website via “Google” search. This

    Website holds themselves out as the online platform of Five Towns Wines & Liquors. They

    offer a wide range of alcoholic beverages, including various types of wines and spirits.

    Their selection covers a diverse array of products, from red and white wines to different

    spirits like whiskey, vodka, gin, brandy, rum, and more. Moreover, they provide services

    like local free delivery, in-store pickup, and reliable shipping within New York, therefore

    Plaintiff desired to buy products from the Website.

           42.     On December 22, 2023 and again on December 27, 2023 Plaintiff visited

    Defendant’s website to purchase the Almaden Pinot Grigio wine. Despite Plaintiff’s

    efforts, however, Plaintiff was denied a shopping experience similar to that of a sighted

    individual due to the website’s lack of a variety of features and accommodations, which

    effectively barred Plaintiff from having an unimpeded browsing experience.




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           43.     The Website contains access barriers that prevent free and full use by the

    Plaintiff using keyboards and screen-reading software. These barriers include but are not

    limited to: missing alt-text, hidden elements on web pages, incorrectly formatted lists,

    unannounced pop ups, unclear labels for interactive elements, and the requirement that

    some events be performed solely with a mouse.

           44.     The Website also contained a host of broken links, which is a hyperlink to

    a non-existent or empty webpage. For the visually impaired this is especially paralyzing

    due to the inability to navigate or otherwise determine where one is on the website once a

    broken link is encountered. For example, upon coming across a link of interest, Plaintiff

    was redirected to an error page. However, the screen-reader failed to communicate that the

    link was broken. As a result, Plaintiff could not get back to the original search.

           45.     These access barriers effectively denied Plaintiff the ability to use and enjoy

    Defendant’s website the same way sighted individuals do.

           46.     Plaintiff intends to visit the Website in the near future if it is made

    accessible.

           47.     Defendant has denied Plaintiff, along with other blind or visually-impaired

    users, access to Defendant’s website, and to therefore specifically deny the goods and

    services that are offered to the general public. Due to Defendant’s failure and refusal to

    remove access barriers to the website, Plaintiff and visually-impaired persons have been

    and are still being denied equal access to Defendant’s Website, and the numerous goods

    and services and benefits offered to the public through the Website.

           48.     Due to the inaccessibility of Defendant’s Website, blind and visually-

    impaired customers such as Plaintiff, who need screen-readers, cannot fully and equally




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    use or enjoy the facilities, products, and services Defendant offers to the public on the

    Website. The access barriers Plaintiff encountered have caused a denial of Plaintiff’s full

    and equal access in the past, and now deter Plaintiff on a regular basis from equal access

    to the Website.

           49.     If the Website were equally accessible to all, Plaintiff could independently

    navigate the Website and complete a desired transaction as sighted individuals do.

           50.     Through Plaintiff’s attempts to use the Website, Plaintiff has actual

    knowledge of the access barriers that make these services inaccessible and independently

    unusable by blind and visually-impaired people.

           51.     Because simple compliance with the WCAG 2.1 Guidelines would provide

    Plaintiff and other visually-impaired consumers with equal access to the Website, Plaintiff

    alleges that Defendant has engaged in acts of intentional discrimination, including but not

    limited to the following policies or practices:

                   a.      Constructing and maintaining a website that is inaccessible to

                   visually-impaired individuals, including Plaintiff;

                   b.      Failure to construct and maintain a website that is sufficiently intuitive

                   so as to be equally accessible to visually impaired individuals, including

                   Plaintiff; and,

                   c.      Failing to take actions to correct these access barriers in the face of

                   substantial harm and discrimination to blind and visually-impaired

                   consumers, such as Plaintiff, as a member of a protected class.




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              52.     Defendant therefore uses standards, criteria, or methods of administration that

    have the effect of discriminating or perpetuating the discrimination of others, as alleged

    herein.

              53.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in

    this action. In relevant part, the ADA requires:

              In the case of violations of . . . this title, injunctive relief shall include an order to
              alter facilities to make such facilities readily accessible to and usable by individuals
              with disabilities . . . [w]here appropriate, injunctive relief shall also include
              requiring the . . . modification of a policy . . .

    42 U.S.C. § 12188(a)(2).

              54.     Because Defendant’s Website has never been equally accessible, and

    because Defendant lacks a corporate policy that is reasonably calculated to cause the

    Website to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

    seeks a permanent injunction requiring Defendant to retain a qualified consultant

    acceptable to Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply with

    WCAG 2.1 guidelines for Defendant’s Website. Plaintiff seeks that this permanent

    injunction requires Defendant to cooperate with the Agreed Upon Consultant to:

                      a.      Train Defendant’s employees and agents who develop the Website

                      on accessibility compliance under the WCAG 2.1 guidelines;

                      b.      Regularly check the accessibility of the Website under the WCAG

                      2.1 guidelines;

                      c.      Regularly test user accessibility by blind or vision-impaired persons

                      to ensure that Defendant’s Website complies under the WCAG 2.1

                      guidelines; and,

                      d.      Develop an accessibility policy that is clearly disclosed on Defendant’s



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                   Websites, with contact information for users to report accessibility-related

                   problems.

           55.     Although Defendant may currently have centralized policies regarding

    maintaining and operating the Website, Defendant lacks a plan and policy reasonably

    calculated to make them fully and equally accessible to, and independently usable by, blind

    and other visually-impaired consumers.

           56.     Defendant has, upon information and belief, invested substantial sums in

    developing and maintaining the Website and has generated significant revenue from the

    Website. These amounts are far greater than the associated cost of making Defendant’s

    Website equally accessible to visually impaired customers.

           57.     Without injunctive relief, Plaintiff and other visually-impaired consumers

    will continue to be unable to independently use the Website.

                                CLASS ACTION ALLEGATIONS
           58.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify

    a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in

    the United States who have attempted to access Defendant’s Website and as a result have

    been denied access to the equal enjoyment of goods and services, during the relevant

    statutory period.

           59.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify

    a New York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

    individuals in the City of New York who have attempted to access Defendant’s Website and

    as a result have been denied access to the equal enjoyment of goods and services offered,

    during the relevant statutory period.

           60.     Common questions of law and fact exist amongst the Class, including:


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                   a.      Whether Defendant’s Website is a “public accommodation” under

                   the ADA;

                   b.      Whether Defendant’s Website is a “place or provider of public

                   accommodation” under the NYCHRL;

                   c.      Whether Defendant’s Website denies the full and equal enjoyment

                   of   the   products,   services,    facilities,   privileges,   advantages,   or

                   accommodations to people with visual disabilities, violating the ADA; and

                   d.      Whether Defendant’s Website denies the full and equal enjoyment

                   of   the   products,   services,    facilities,   privileges,   advantages,   or

                   accommodations to people with visual disabilities, violating the NYCHRL.

           61.     Plaintiff’s claims are typical of the Class. The Class, similarly to the

    Plaintiff, are severely visually impaired or otherwise blind, and claim that Defendant has

    violated the ADA or NYCHRL by failing to update or remove access barriers on the

    Website so either can be independently accessible to the Class.

           62.     Plaintiff will fairly and adequately represent and protect the interests of the

    Class Members because Plaintiff has retained and is represented by counsel competent and

    experienced in complex class action litigation, and because Plaintiff has no interests

    antagonistic to the Class Members. Class certification of the claims is appropriate under

    Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally

    applicable to the Class, making appropriate both declaratory and injunctive relief with

    respect to Plaintiff and the Class as a whole.

           63.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

    because fact and legal questions common to Class Members predominate over questions




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    affecting only individual Class Members, and because a class action is superior to other

    available methods for the fair and efficient adjudication of this litigation.

           64.     Judicial economy will be served by maintaining this lawsuit as a class action

    in that it is likely to avoid the burden that would be otherwise placed upon the judicial

    system by the filing of numerous similar suits by people with visual disabilities throughout

    the United States.

                              FIRST CAUSE OF ACTION
                     VIOLATIONS OF THE ADA, 42 U.S.C. § 12182 et seq.
           65.      Plaintiff, on behalf of himself and the Class Members, repeats and realleges

    every allegation of the preceding paragraphs as if fully set forth herein.

           66.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

           No individual shall be discriminated against on the basis of disability in the full and
           equal enjoyment of the goods, services, facilities, privileges, advantages, or
           accommodations of any place of public accommodation by any person who owns,
           leases (or leases to), or operates a place of public accommodation.

    42 U.S.C. § 12182(a).

           67.     Defendant’s Website is a public accommodation within the definition of

    Title III of the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

    general public, and as such, must be equally accessible to all potential consumers.

           68.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

    discrimination to deny individuals with disabilities the opportunity to participate in or

    benefit from the products, services, facilities, privileges, advantages, or accommodations

    of an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

           69.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

    discrimination to deny individuals with disabilities an opportunity to participate in or

    benefit from the products, services, facilities, privileges, advantages, or accommodations,


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    which is equal to the opportunities afforded to other individuals. 42 U.S.C. §

    12182(b)(1)(A)(ii).

           70.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

    also includes, among other things:

           [A] failure to make reasonable modifications in policies, practices, or procedures,
           when such modifications are necessary to afford such goods, services, facilities,
           privileges, advantages, or accommodations to individuals with disabilities, unless
           the entity can demonstrate that making such modifications would fundamentally
           alter the nature of such goods, services, facilities, privileges, advantages or
           accommodations; [and] a failure to take such steps as may be necessary to ensure
           that no individual with a disability is excluded, denied services, segregated or
           otherwise treated differently than other individuals because of the absence of
           auxiliary aids and services, unless the entity can demonstrate that taking such steps
           would fundamentally alter the nature of the good, service, facility, privilege,
           advantage, or accommodation being offered or would result in an undue burden.

    42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

           71.     The acts alleged herein constitute violations of Title III of the ADA, and the

    regulations promulgated thereunder. Plaintiff, who is a member of a protected class of

    persons under the ADA, has a physical disability that substantially limits the major life

    activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

    Plaintiff has been denied full and equal access to the Website, has not been provided

    services that are provided to other patrons who are not disabled, and has been provided

    services that are inferior to the services provided to non-disabled persons. Defendant has

    failed to take any prompt and equitable steps to remedy the discriminatory conduct as the

    violations are ongoing.

           72.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

    and incorporated therein, Plaintiff, requests relief as set forth below.

                                 SECOND CAUSE OF ACTION
                                VIOLATIONS OF THE NYCHRL



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           73.     Plaintiff, on behalf of himself and the New York City Sub-Class Members,

    repeats and realleges every allegation of the preceding paragraphs as if fully set forth herein.

           74.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an

    unlawful discriminatory practice for any person who is the owner, franchisor, franchisee,

    lessor, lessee, proprietor, manager, superintendent, agent or employee of any place or

    provider of public accommodation: [b]ecause of any person’s . . . disability . . . directly or

    indirectly: [t]o refuse, withhold from or deny to such person the full and equal enjoyment,

    on equal terms and conditions, of any of the accommodations, advantages, services,

    facilities or privileges of the place or provider of public accommodation”.

           75.     Defendant’s Website is a sales establishment and public accommodations

    within the definition of N.Y.C. Admin. Code § 8-102(9).

           76.     Defendant is subject to NYCHRL because it owns and operates the Website,

    making it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).

           77.     Defendant is in violation of N.Y.C. Administrative Code § 8-107(4)(a) in

    refusing to update or remove access barriers to Website, causing the Website and the

    services integrated with such Website to be completely inaccessible to the blind. This

    inaccessibility denies blind patrons full and equal access to the facilities, products, and

    services that Defendant makes available to the non-disabled public.

           78.     Defendant is required to “make reasonable accommodation to the needs of

    persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

    from discriminating on the basis of disability not to provide a reasonable accommodation

    to enable a person with a disability to satisfy the essential requisites of a job or enjoy the




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    right or rights in question provided that the disability is known or should have been known

    by the covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

            79.     Defendant’s actions constitute willful intentional discrimination against the

    Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-

    107(4)(a) and § 8-107(15)(a) in that Defendant has:

                    a.      constructed and maintained a website that is inaccessible to blind

                    class members with knowledge of the discrimination; and/or

                    b.      constructed and maintained a website that is sufficiently intuitive

                    and/or obvious that is inaccessible to blind class members; and/or

                   c.       failed to take actions to correct these access barriers in the face of

                    substantial harm and discrimination to blind class members.

            80.     Defendant has failed to take any prompt and equitable steps to remedy the

    discriminatory conduct as these violations are ongoing.

            81.     As such, Defendant discriminates, and will continue in the future to

    discriminate against Plaintiff and members of the proposed class and subclass on the basis

    of disability in the full and equal enjoyment of the products, services, facilities, privileges,

    advantages, accommodations and/or opportunities of the Website under N.Y.C.

    Administrative Code § 8-107(4)(a). Unless the Court enjoins Defendant from continuing

    to engage in these unlawful practices, Plaintiff and members of the class will continue to

    suffer irreparable harm.

            82.     Defendant’s actions were and are in violation of the NYCHRL and therefore

    Plaintiff invokes the right to injunctive relief to remedy the discrimination.




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           83.      Plaintiff is also entitled to compensatory damages, as well as civil penalties

    and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as

    well as punitive damages pursuant to § 8-502.

           84.      Plaintiff is also entitled to reasonable attorneys’ fees and costs.

           85.      Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

    procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set

    forth below.

                                   THIRD CAUSE OF ACTION
                                    DECLARATORY RELIEF
           86.      Plaintiff, on behalf of himself and the Class and New York City Sub-Classes

    Members, repeats and realleges every allegation of the preceding paragraphs as if fully set

    forth herein.

           87.      An actual controversy has arisen and now exists between the parties in that

    Plaintiff contends, and is informed and believes that Defendant denies, that the Website

    contains access barriers denying blind customers the full and equal access to the products,

    services and facilities of the Website, which Defendant owns, operates and controls, fails

    to comply with applicable laws including, but not limited to, Title III of the Americans

    with Disabilities Act, 42 U.S.C. §§ 12182, et seq., and N.Y.C. Admin. Code § 8-107, et

    seq. prohibiting discrimination against the blind.

           88.      A judicial declaration is necessary and appropriate at this time in order that

    each of the parties may know its respective rights and duties and act accordingly.

                                      PRAYER FOR RELIEF
           WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

                    a.     A preliminary and permanent injunction to prohibit Defendant from




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                violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

                N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

                b.     A preliminary and permanent injunction requiring Defendant to take

                all the steps necessary to make the Website fully compliant with the

                requirements set forth in the ADA, and the implementing regulations, so

                that the Website is readily accessible to and usable by blind individuals;

                c.     A declaration that Defendant owns, maintains and/or operates the

                Website in a manner that discriminates against the blind and which fails to

                provide access for persons with disabilities as required by Americans with

                Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C. Administrative Code

                § 8-107, et seq., and the laws of New York

                d.     An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

                23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative,

                and Plaintiff’s attorneys as Class Counsel;

                e.     Compensatory damages in an amount to be determined by proof,

                including all applicable statutory and punitive damages and fines, to

                Plaintiff and the proposed class and subclasses for violations of civil rights

                under New York City Human Rights Law and City Law;

                f.     Pre- and post-judgment interest;

                g.     An award of costs and expenses of this action together with

                reasonable attorneys’ and expert fees; and

                h.     Such other and further relief as this Court deems just and proper.

                            DEMAND FOR TRIAL BY JURY




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             Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

    of fact the Complaint raises.

    Dated:      Hackensack, New Jersey
                January 2, 2024
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